             Case 1:21-cr-00032-DLF Document 73 Filed 12/09/21 Page 1 of 4




              United States District Court for the District of Columbia

United States of America                   *

        v.                                 *             No. 1:21-CR-00032-DLF-1

Guy Wesley Reffitt                         *


Supplemental Memorandum in Response to Motion in Limine to Preclude
Cross-examination of Secret Service Witnesses and Request for Production
                             of Photographs

        After filing the Response to the government’s Motion in Limine to preclude

cross-examination of Secret Service Witnesses (Doc. 69), defendant’s counsel learned

that Jonathan Karl appeared on The Late Show with Stephen Colbert and said he

saw pictures of Vice President Pence waiting in an underground garage on January

6, 2021.


        Mr. Karl noted that the pictures should be part of the public record under

National Archives’ regulations, because official White House photographer took

them.


        These photographs are relevant to the allegations in Counts Three and Four.

The garage appears to be the Senate garage that is actually not part of the Capitol.

See Mike Pence Hid in 'Loading Dock' in Underground Parking Garage During Jan.

6 Riot (newsweek.com) (Last accessed Dec. 9, 2021). It lies between the Capitol and

the Russell office building under the Senate fountain. Senate Fountain | Architect

of the Capitol (aoc.gov) (Last accessed Dec. 9, 2021).
        Case 1:21-cr-00032-DLF Document 73 Filed 12/09/21 Page 2 of 4




      Title 18, United States Code, Section 1752 requires the government to prove

that the defendant entered the “restricted building or grounds” where the Secret

Service protectee “is or will be temporarily visiting.” The government has said that

Vice President Pence evacuated the Capitol at approximately 2:20 p.m. Doc. 10 at 3.

Title 40, United States Code, Section 5102 of defines “Capitol Grounds” as:


      The United States Capitol Grounds comprises all squares, reservations,
      streets, roadways, walks, and other areas as defined on a map entitled
      "Map showing areas comprising United States Capitol Grounds", dated
      June 25, 1946, approved by the Architect of the Capitol, and recorded in
      the Office of the Surveyor of the District of Columbia in book 127, page
      8, including all additions added by law after June 25, 1946.

Section 5101 defines “Capitol Buildings” (plural) as:

      The United States Capitol, the Senate and House Office Buildings and
      garages, the Capitol Power Plant, all buildings on the real property
      described under section 5102(c) (including the Administrative Building
      of the United States Botanic Garden) all buildings on the real property
      described under section 5102(d) , all subways and enclosed passages
      connecting two or more of those structures, and the real property
      underlying and enclosed by any of those structures.

40 U.S.C. § 5101.


      All of the “grounds” in Section 5102 are above ground. Also, in Section 5101

the Capitol Building is defined separately from the subways/tunnels. They are both

“Capitol Buildings” but they are not both the “Capitol Building.”


      The “restricted building” in Count Three is the Capitol Building itself. The

“grounds” do not include subterranean levels by definition. Accordingly, if Vice




                                          2
         Case 1:21-cr-00032-DLF Document 73 Filed 12/09/21 Page 3 of 4




President Pence was in the tunnels after 2:20 pm, and the defendant entered the

"restricted area" after that time, there is arguably no violation of Section 1752.


      In addition to the relevant issues listed in the Response (Doc. 69):

         i.   whether the photographs described by Mr. Karl show the defendant,

        ii.   whether these photographs show the witnesses,

       iii.   whether these photographs show witnesses speaking with the

              defendant,

       iv.    whether these photographs show how close he was to the Vice President

              and members of the Vice President’s family,

        v.    whether these photographs show how the defendant specifically affected

              the Secret Service’s protection of the Vice President and his family

              members,

       vi.    whether these photographs show what the Secret Service did specifically

              in response to the defendant,

would all be relevant, because the government intends to have Secret Service

witnesses testify regarding Counts Three and Four a) that “Secret Service agents

were on duty to protect Vice President Mike Pence and his two immediate family

members, all of whom were present at the Capitol[;]” and b) “the effect on the Secret

Service’s protection of Vice President Pence and his family members.” Doc. 49 at 1–

2.


      Mr. Reffitt requests either the disclosure of the photographs described by Mr.

Karl, or the alternative dismissal of Counts Three and Four, if they are classified.



                                           3
         Case 1:21-cr-00032-DLF Document 73 Filed 12/09/21 Page 4 of 4




See Classified Information Procedures Act (CIPA), Title 18, U.S.C. App III section

6(e)(2)(A).



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                                            (Appointed by this Court)

                                 Certificate of Service

       I hereby certify that on this 9th day of December 2021, a copy of the foregoing

Response to Motion in Limine to Preclude Cross-examination of Secret Service

Witnesses     was    delivered     electronically   to    Mr.   Jeffrey   S.   Nestler

(jeffrey.nestler@usdoj.gov) and Ms. Risa Berkower (risa.berkower@usdoj.gov), Office

of the United States Attorney, 555 Fourth Street, NW, Washington, DC 20530.


                                            /s/ William         L. Welch, III
                                            William L. Welch, III




                                            4
